  Case 1:21-cv-00717-SB Document 42 Filed 04/19/22 Page 1 of 2 PageID #: 834




                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE

   EMILY SOUSA,                                       )
                                                      )
           Plaintiff,                                 )
                                                      )
           v.                                         )   C.A. No.: 1:21-cv-00717-SB
                                                      )
   AMAZON.COM, INC., AMAZON.COM                       )
   SERVICES LLC, and LAWRENCE                         )
   DORSEY, in his individual and                      )
   professional capacities                            )
                                                      )
           Defendants.                                )


                  MOTION AND ORDER FOR ADMISSION PRO HAC VICE

        Pursuant to Local Rule 83.5 and the attached certification, counsel moves the admission pro

hac vice of Alfredo J. Pelicci, Esq., to represent Plaintiff Emily Sousa in this matter.


                                                              ALLEN & ASSOCIATES

                                                              /s/ Michele D. Allen
                                                              Michele D. Allen (#4359)
                                                              Emily A. Biffen (#6639)
                                                              4250 Lancaster Pike, Suite 230
                                                              Wilmington, DE 19805
                                                              (302) 234-8600
                                                              (302) 234-8602 (fax)
                                                              michele@allenlaborlaw.com
                                                              emily@allenlaborlaw.com
                                                              Attorneys for Plaintiff


                                 ORDER GRANTING MOTION

        IT IS HEREBY ORDERED counsel’s motion for admission pro hac vice is granted.


Date:                                          ____________________________________
                                               Stephanos Bibas
                                               United States District Judge
  Case 1:21-cv-00717-SB Document 42 Filed 04/19/22 Page 2 of 2 PageID #: 835



           CERTIFICATION BY COUNSEL TO BE ADMITTED PRO HAC VICE

       Pursuant to Local Rule 83.5, I certify that I am eligible for admission to this Court, am

admitted, practicing and in good standing as a member of the Bar of New York and Virginia, and

pursuant to Local Rule 83.6 submit to the disciplinary jurisdiction of this Court for any alleged

misconduct which occurs in the preparation or course of this action. I also certify that I am generally

familiar with this Court’s Local Rules. In accordance with Standing Order for District Court Fund

effective 7/23/09, I further certify that the annual fee of $25.00 has been paid to the Clerk of Court,

or, if not paid previously, the fee payment will be submitted to the Clerk’s Office upon the filing of

this motion.


                                                              __________________________
                                                              Alfredo J. Pelicci, Esq.
                                                              N.Y. Bar I.D. (# 5775820)
                                                              V.A. Bar I.D. (#93058)
                                                              Wigdor LLP
                                                              85 Fifth Avenue, 5th Floor
                                                              New York, NY 10003
                                                              (212) 257-6800
                                                              (212) 257-6845 (fax)
                                                              apelicci@wigdorlaw.com


Dated: April 19, 2022
